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4920-7136-8473
                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF KENTUCKY
                                     PADUCAH DIVISION
                               CIVIL ACTION NO. 5:23-cv-79-BJB

TARVOUS HASKINS                                                                         PLAINTIFF

v.                                       STATUS REPORT
                                         (Electronically Filed)

JERIMIAH KLINE                                                                       DEFENDANT

        Pursuant to the Court’s Text Order [DN 28], Defendant, Ofc. Kline, in his individual

capacity, submits the following status report:

        1.       On January 8, 2025, the Christian District Court conducted a pretrial conference in

the state-criminal matter. (Commonwealth v. Haskins, Tarvous, 22-F-468 (Christian District Ct.

Feb. 3, 2025), Case History, attached hereto as Exhibit 1).

        2.       At the hearing, Haskins entered a conditional guilty plea to possession of marijuana

in violation of KRS 218A.1422, and the Christian District Court sentenced him to 30 days in jail

(suspended) and unsupervised probation for 2 years. (Docket Court Order, attached hereto as

Exhibit 2; Order of Probation, attached hereto as Exhibit 3).

        3.       On January 28, 2025, Haskins filed a notice of appeal of the January 8, 2025

judgment of conviction and order denying Haskins’s motion to suppress evidence. (Notice of

Appeal, attached hereto as Exhibit 4).

        4.       The issues on appeal include but are not limited to the alleged:

             a. Improper Order of the trial court placing burden of production on Defendant during
                the November 30, 2023 suppression hearing.

             b. Erroneous Order of the trial court determining legality of traffic stop.

             c. Erroneous Order of the trial court finding extension of traffic stop as
                investigatory.
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            d. Erroneous Order of the trial court finding both physical pat down searches of
               the Defendant lawful.

            e. Erroneous Order of the trial court finding interior clothing search of the
               Defendant lawful

(Id. (emphasis added)).

       5.      It is Ofc. Kline’s position that Haskin’s conditional guilty plea in the state-court

criminal matter will bar the federal court civil action pursuant to the Heck doctrine, regardless of

any appeal. Heck v. Humphrey, 512 U.S. 477 (1994). Under the Heck doctrine, an individual may

not file a § 1983 suit for damages or equitable relief challenging his conviction or sentence if a

ruling on his claim would render the conviction or sentence invalid, until and unless the

conviction or sentence has been reversed on direct appeal, expunged by Executive Order,

declared invalid by a state tribunal, or has been called into question by a federal court's issuance

of a writ of habeas corpus under 28 U.S.C. § 2254. Heck, 512 U.S. at 486-87; Wilkinson v. Dotson,

544 U.S. 74, 81-82 (2005) (“[A] state prisoner's § 1983 action is barred (absent prior invalidation)

– no matter the relief sought (damages or equitable relief), no matter the target of the prisoner's

suit (state conduct leading to conviction or internal prison proceedings) – if success in that action

would necessarily demonstrate the invalidity of confinement or its duration.”); see also Robinson

v. Hardin Cty. Det. Ctr., No. 3:18-CV-P301-DJH, 2018 WL 3661452, at *2 (W.D. Ky. Aug. 2,

2018) (“Plaintiff can only maintain a claim for damages based upon malicious prosecution if he

has been exonerated of the charges against him.” (citing Heck)).

       6.      The United States District Court has applied the Heck doctrine as a bar to federal

claims where the plaintiff entered a conditional guilty plea for state-court charges; however, in that

matter, unlike here, the plaintiff exhausted his appellate remedies. See, e.g., Ward v. Borders, 3:16-

CV-393-RGJ-RSE, 2022 WL 4237501, at *4 (W.D. Ky. Sept. 14, 2022).




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       7.      Ofc. Kline respectfully requests that the stay remain in place until any resolution or

significant development in the underlying criminal appeal.

       8.      Ofc. Kline further requests that the Court order the parties to file a joint status report

promptly after any resolution or significant development in the underlying state criminal case or

by June 6, 2025, whichever occurs earlier.

                                                         Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of the foregoing has been served this 10th day
of February 2025, via email, addressed to the following:

      Ramon McGee, Esq., rmcgeeinc@hotmail.com, The Law Office of Ramon McGee, 4123
W. Broadway, Louisville, KY 40211, Attorney for Plaintiff.

By: /s/ James A. Sigler
      James A. Sigler, Esq.




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